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 5                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
 6

 7    UNITED STATES OF AMERICA,
                                                   NO: 1:13-CR-2103-TOR-6
 8                              Plaintiff,

 9          v.                                     ORDER DISMISSING INDICTMENT
                                                   WITHOUT PREJUDICE
10    JORGE LUIS FRANCO-MORALES,
                                                   *USMS Action Required*
11
                               Defendant.
12

13         Before the Court is the government’s Motion to Dismiss Indictment (ECF

14   No. 350). The motion was submitted for consideration without oral argument. The

15   Court has reviewed the motion and the file therein and is fully informed. For good

16   cause shown, the Court grants the motion, but makes no judgment as to the merit

17   or wisdom of this dismissal.

18         Accordingly, IT IS HEREBY ORDERED:

19         1. The government’s Motion to Dismiss Indictment (ECF No. 350) is

20   GRANTED.



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 1         2. The second superseding indictment (ECF No. 142) in this matter is

 2   DISMISSED without prejudice as to Jorge Luis Franco-Morales.

 3         3. All pending motions are DENIED as moot.

 4         4. All pending hearings are stricken from the Court’s calendar.

 5         5. The Defendant shall be released from the United States Marshal’s Service

 6   custody forthwith.

 7         The District Court Executive is hereby directed to enter this Order and

 8   provide copies to counsel, the U.S. Probation Office, and the U.S. Marshal’s

 9   Service.

10         DATED September 1, 2015.

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12                                 THOMAS O. RICE
                                United States District Judge
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     ORDER DISMISSING INDICTMENT ~ 2
